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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IRAIZ HERNANDEZ,

        Plaintiff,

 v.                                                     Case No.: 1:19-cv-21586-UU

 DEPARTMENT STORES NATIONAL
 BANK,

       Defendant.
 _____________________________________/

                        STIPULATION TO ARBITRATE AND STAY ACTION

         Plaintiff, Iraiz Hernandez, and Defendant, Department Stores National Bank, through

 their counsel of record, hereby stipulate to submit all claims to binding arbitration and to stay all

 judicial proceedings pending the outcome of the arbitration, pursuant to the parties’ arbitration

 agreement attached hereto as Exhibit 1.

         IT IS SO STIPULATED.

         Dated: June 3, 2019.

 By: /s/ Alisa M. Taormina                            By:      /s/ Joel D. Lucoff
     Brian C. Frontino                                        Joel D. Lucoff
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     lacalendar@stroock.com

      Counsel for Defendant Department Stores
      National Bank




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 3, 2019, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

 the following counsel of record:

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         Hollywood, FL 33021
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                                                          /s/ Alisa M. Taormina
                                                          Alisa M. Taormina




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